            Case 1:19-cv-03237-RMP                   ECF No. 30          filed 09/18/20     PageID.203 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                       FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                     Eastern District of Washington                    EASTERN DISTRICT OF WASHINGTON


                   United States of America                                                             Sep 18, 2020
                                                                     )                                        SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                v.                                   )        Civil Action No. 1:19-cv-03237-RMP
                                                                     )
                 $8,170.00 U.S. CURRENCY                             )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Default Judgment and Final Order of Forfeiture (ECF No. 28) is GRANTED.
’
              Default judgments are entered against the interests of Maliktica Austin, David Anthony, Devon Austin,
              Gerald Lewis, Anna Kohler, Cory Murphy, Phyllis Murphy, and PJ Murphy.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                   ROSANNA MALOUF PETERSON                                   on a motion for
      Default Judgment and Final Order of Forfeiture (ECF No. 28).


Date: 9/18/2020                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lee Reams
                                                                                          (By) Deputy Clerk

                                                                             Lee Reams
